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                                 UNITED STATES BANKRUPTCY COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                          TAMPA DIVISION
                                        www.flmb.uscourts.gov

In re
TRAIL MANAGEMENT, LLC                                                Case No. 8:20-bk-00963-CPM
                                   Debtor
________________________________________/                            Chapter 7
MICHAEL KIM
                     Plaintiff

V.                                                                   Case No. 8:20-cv-2225-CEH
CATHERINE PEEK MCEWEN, WESTWATER
CONSTRUCTION, INC., MARK S. MILLER,
HUNTER W. CARROLL, SHIRIN
MOHAMMEDBHOY VESELY, STEPHEN L.
MEININGER, ERIC JACOBS, and STEPHANIE
C. LIEB, Inclusive,
                   Defendants.
________________________________________/


          TRAIL MANAGEMENT, LLC'S MOTION REQUESTING THIS COURT
                    TO DISALLOW WESTWATER’S CLAIM



       On June 19, 2020, Trail Management, LLC (“TRAIL”) filed TRAIL MANAGEMENT

LLC’S OBJECTION TO WESTWATER’S PROOF OF CLAIM. See (Doc. 162) [EXHIBIT A].

A motion objecting to claim qualifies for the use of Negative Notice in the Middle District of Florida

Bankruptcy Court. See Exhibit A attached hereto. In conformity with, Rule 2002-4, TRAIL gave

WESTWATER CONSTRUCTION, INC. (“WESTWATER”) the following required Notice:




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         NOTICE OF OPPORTUNITY TO OBJECT AND REQUEST FOR HEARING


 Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this paper without further
 notice or hearing unless a party in interest files a response within 30 days from the date set forth on
 the attached proof of service, plus an additional three days for service if any party was served by U.S.
 Mail.

 If you object to the relief requested in this paper, you must file a response with the Clerk of the
 Court at 801 N Florida Ave, Tampa, FL 33602 and serve a copy on the movant's attorney, Frank S.
 Homsher, and any other appropriate persons within the time allowed. If you file and serve a
 response within the time permitted, the Court will either schedule and notify you of a hearing or
 consider the response and grant or deny the relief requested without a hearing.

 If you do not file a response within the time permitted, the Court will consider that you do not
 oppose the relief requested in the paper, will proceed to consider the paper without further notice or
 hearing, and may grant the relief requested.




       By Local Rule 2002-4, “The Court has established a list (the “Negative Notice List”) of

motions, objections, and other papers that may be considered by the Court without an actual hearing

under the negative notice procedure described in this rule, if no party in interest files a response to the

relief requested.” Here, WESTWATER received the required 30-day notice for a Motion Objecting to

Claim. See Exhibit A. In a bankruptcy proceeding, the debtor’s filing of a negative notice effectively

shifts the burden to the Creditor to now, it must overcome the debtor’s objection to the claim. In re

Pierce, 435 F.3d 891, 891 (8th Cir. 2006). If the creditor does not challenge or request a hearing, the

bankruptcy court is free to disallow the claim. See Id.

         WESTWATER had until July 19, 2020 to respond to TRAIL’s well-reasoned objection.

 WESTWATER has failed to file a response even though it is nearly three (3) months past the 30-

 day deadline. Any response received by this Court after this Motion is filed should be disregarded.




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       WESTWATER        has      been   empowered   by   the   Bankruptcy   Court, to avoid

responding to the decisive argument in TRAIL’s Objection to WESTWATER’s claim.

Through its discussions with the Internal Revenue Service, TRAIL knows that this

argument is the one used by the Internal Revenue Service when it foreclosed upon the MORSE

property and render WESTWATER a mere junior lien holder whose lien was Discharged

at the foreclosure sale by operation of law, because WESTWATER failed to timely file a lis

pendens under FS 713.22.

       It would not be difficult to believe that WESTWATER knew that it has been asserting a

phantom lien for these many years. WESTWATER remained silent over the years just as it did by

not responding to TRAIL’s motion to object.

       As a matter of judicial economy and fairness, this Court should disallow WESTWATER’s

claim based on a lien that no longer exists because it failed to respond to TRAIL’s Motion

Objecting to WESTWATER’s claim, and dismiss TRAIL’s Chapter 7 case so that TRAIL can

pursue WESTWATER and its owner in State Court for the massive damages it has caused TRAIL

and MICHAEL KIM by litigating a phantom lien.




       Dated October 21, 2020,



                                                         Respectfully Submitted,

                                                         /s/ Frank S. Homsher______________
                                                         WSBA #26935
                                                         Attorney for Debtor
                                                         Trail Management, LLC




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                 SUBJOINED DECLARATION OF FRANK S. HOMSHER

1.     I am one of the attorneys representing Trail Management, LLC, a Delaware Limited

Liability Company in these bankruptcy proceedings.

2.     I am over 18-years of age and competent to testify to the following which is within my

personal knowledge.

3.     Each of the factual statements in the above motion are true and correct to the best of my

knowledge.

4.     I declare (or certify, verify, or state) under penalty of perjury under the laws of the United

States of America that the foregoing is true and correct.



       Executed on October 21, 2020.

                                                             /s/ Frank S. Homsher__________
                                                             WSBA #26935
                                                             Attorney for Debtor TRAIL
                                                             MANAGEMENT



                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been electronically
filed with the Court’s CM/ECF system, which will send notice and a copy on all counsel of record.



       Dated this October 21, 2020

                                                      /s/ Amber Robinson
                                                      Amber Robinson
                                                      Attorney for Trail Management




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